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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

IN RE:      Tarani Johnson                                Case No. 22-12668-mdc
                        Debtor
                                                          Chapter: 7
            SN Servicing Corporation as Servicer for
            U.S. Bank Trust National Association, as      Judge: Magdeline D. Coleman
            Trustee of Cabana Series V Trust
                         Movant                           Hearing Date:
            v.
                                                          Objection Deadline:           1
            Tarani Johnson
            Patricia Johnson - Co-Debtor
            Terry P. Dershaw- Trustee
                           Respondents

                                             ORDER

         AND NOW, this           day of             , 2023, upon the motion of SN Servicing

Corporation as Servicer for U.S. Bank Trust National Association, as Trustee of Cabana Series V

Trust (hereafter “Movant”)

         ORDERED AND DECREED that Movant (and any assignee/successor-in-interest) is

granted relief from the stay of 11 U.S.C. §362, relief from co-debtor stay of 11 U.S.C. §1301 and

for In Rem/Prospective Relief to proceed with enforcement of all rights Movant has under state

and federal law concerning the Property (the “Property”): 24-02 Oceancrest Boulevard, Far

Rockaway, NY 11691; and it is

         ORDERED AND DECREED that Movant is granted relief from the stay of 11 U.S.C.

§362 to proceed with its mortgage foreclosure action and Sheriff’s Sale (and all other rights

under state and federal law) concerning the Property; and it is

         FURTHER ORDERED and DECREED that automatic stay under 11 USC §362 with

regard to the Property (and Debtor and any Co-Debtor) shall not arise as to Movant in this
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Bankruptcy or any other Bankruptcy filed within two years from the date the instant case is

either dismissed or otherwise terminated; and it is

       FURTHER ORDERED and DECREED that the Co-Debtor stay in effect as it pertains

to Patricia Johnson pursuant to section 1301(a) of the Bankruptcy Code is hereby modified to

allow Movant its successors and/or assigns to commence and /or continue with a foreclose action

and eviction proceeding with regard to the Premises; and it is further

       FURTHER ORDERED and DECREED that Movant may record this Order in the

same fashion as an interest or lien may be recorded under state law, pursuant to 11 USC

§362(d)(4), and from the date of recording no automatic stay shall arise under any provision of

the Bankruptcy Code as to Movant with regard to the Property and Debtor for a period of two

years from the date of this Order; and it is

       FURTHER ORDERED and DECREED that the 14-day stay pursuant to Rule

4001(a)(3) is hereby waived and Debtor will not be considered current with Movant at the

conclusion of the instant case. The fees and costs set forth in this Motion shall be paid by Debtor

and be due and payable under the terms of the Note and Mortgage.



                                               BY THE COURT:



                                               ___________________________________

                                                                                  U.S.B.J.
